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                       12   and Innovation Foundation, and the Woodhull Freedom Foundation
                       13                                UNITED STATES DISTRICT COURT

                       14                               NORTHERN DISTRICT OF CALIFORNIA

                       15                                        SAN JOSE DIVISION

                       16    NetChoice, LLC d/b/a NetChoice,               Civil Action No. 5:22-cv-08861-BLF
                       17                  Plaintiff,                      MOTION OF CHAMBER OF
                                    v.                                     PROGRESS, LGBT TECH, THE
                       18
                                                                           INFORMATION TECHNOLOGY AND
                       19    ROB BONTA, ATTORNEY GENERAL OF                INNOVATION FOUNDATION, AND THE
                             THE STATE OF CALIFORNIA, in his               WOODHULL FREEDOM FOUNDATION
                       20    official capacity,                            FOR LEAVE TO FILE BRIEF AS AMICI
                                                                           CURIAE IN SUPPORT OF PLAINTIFF
                       21                  Defendant.
                                                                           Action Filed: December 14, 2022
                       22                                                  Judge: Honorable Beth Labson Freeman
                       23                                                  Date: January 23, 2025
                                                                           Time: 9:00 a.m.
                       24                                                  Courtroom: 3, 5th Floor

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                               MOTION OF CHAMBER OF PROGRESS, LGBT TECH, THE INFORMATION TECHNOLOGY AND
H OGAN L OVEL LS US
                             INNOVATION FOUNDATION, AND THE WOODHULL FREEDOM FOUNDATION FOR LEAVE TO FILE
       LLP                                    BRIEF AS AMICI CURIAE IN SUPPORT OF PLAINTIFF
  ATTO RNEY S AT LAW
                                  AMICUS CURAIE BRIEF IN SUPPORT OF NETCHOICE – CASE NO.: 5:22-CV-08861-BLF
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                        1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

                        2          PLEASE TAKE NOTICE THAT Chamber of Progress, LGBT Tech, the Information

                        3   Technology and Innovation Foundation, and the Woodhull Freedom Foundation, through

                        4   undersigned counsel respectfully move the Court for leave to file a brief as amici curiae in

                        5   support of Plaintiff’s Motion for a Preliminary Injunction. Counsel for Plaintiff and Counsel for

                        6   Defendant consent to the filing of this brief. A copy of Amici’s proposed brief is attached together

                        7   with a proposed order granting this motion.

                        8                                    STATEMENT OF INTEREST

                        9          Amici are non-profit organizations dedicated to building a country in which all people

                       10   benefit from technology and interconnectivity. The parties that Amici advise support efforts to

                       11   design child-friendly features that facilitate age appropriate online content and also share the core

                       12   principle of promoting healthy online communities, which requires content moderation.

                       13          But the Policy Enforcement Provision of California’s Age-Appropriate Design Code Act

                       14   (“the CAADCA”) imperils healthy and safe online communities by exacting a heavy penalty on

                       15   platforms that fail to effectively moderate all content on their online sites. Consequently, the

                       16   provision creates a powerful disincentive against good faith content moderation such that it is

                       17   preempted by the express text and objectives of Section 230. Amici are therefore interested in the

                       18   outcome of this case and submit the attached brief in support of preliminarily enjoining

                       19   enforcement of the CAADCA.

                       20                                              ARGUMENT

                       21          Amici’s proposed brief, attached to this motion as Exhibit A, will assist the court by

                       22   demonstrating that Section 230 preempts the Policy Enforcement Provision, both expressly and

                       23   under the doctrine of conflict preemption. As described in the proposed brief, the CAADCA

                       24   provision contravenes Section 230 because it creates disincentives for platforms to enact and

                       25   enforce robust content moderation policies by subjecting them to heavy penalties for

                       26   noncompliance. The proposed brief further explains how enforcement of the Policy Enforcement

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                        1   Provision would especially harm marginalized users and chill innovation in content moderation

                        2   practices.

                        3          “District courts have broad discretion to appoint amici curiae.” Levin Richmond Terminal

                        4   Corp. v. City of Richmond, 482 F. Supp. 3d 944, 951 (N.D. Cal. 2020). There are “no strict

                        5   prerequisites” to qualify, meaning district courts often grant motions for leave to file amicus

                        6   briefs and “frequently welcome [them] from non-parties concerning legal issues that have

                        7   potential ramifications beyond the parties directly involved or if the amicus has unique

                        8   information or perspective that can help the court beyond the help that the lawyers for the parties

                        9   are able to provide.” Infineon Techs. N. Am. Corp. v. Mosaid Techs., Inc., No. C 02-5772 JFRS,

                       10   2006 WL 3050849, at *3 (N.D. Cal. Oct. 23, 2006) (internal quotation marks and citations

                       11   omitted). An amicus curiae’s “classic role” is to “assist[] in a case of general public interest,

                       12   supplement[] the efforts of counsel, and draw[] the court’s attention to law that escaped

                       13   consideration.” Miller-Wohl Co. v. Comm’r of Lab. & Indus. State of Mont., 694 F.2d 203, 204

                       14   (9th Cir. 1982). A prospective amicus must “merely make a showing that his participation is

                       15   useful or otherwise desirable to the court,” and “generally courts have ‘exercised great liberality’”

                       16   in this area. California by & through Becerra v. United States Dep't of the Interior, 381 F. Supp.

                       17   3d 1153, 1164 (N.D. Cal. 2019)

                       18                                             CONCLUSION

                       19          For the foregoing reasons, Amici’s motion for leave to file the attached brief should be

                       20   granted.

                       21    Date: November 15, 2024                       Respectfully submitted,
                       22                                                  HOGAN LOVELLS US LLP
                       23                                                  By: /s/ Trenton H. Norris
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                        1                                    CERTIFICATE OF SERVICE

                        2          I hereby certify that on November 15, 2024, I electronically filed the foregoing with the

                        3   Clerk of the Court by using the CM/ECF system, which will provide electronic notice and an

                        4   electronic link to this document to all attorneys of record.

                        5                                                     /s/ Trenton H. Norris
                                                                              Trenton H. Norris
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